Yoon Mocumen 137 Filed oyetit. ppl of 5 PagelD 3328

  

 

FW0331S% “HOR GE OISTRICT coupy
IN THE UNITED STATES DISTRICT COURT FORT WORTH onyx
FOR THE NORTHERN DISTRICT OF TEXAS PILED US
FORT WORTH DIVISION 2019 AUG | lb PM 2:53
) msrees
American Airlines, Inc., ) GEPUTY CLERK ~VvF _
a ) Cry
Plaintiff, )
)
v. ) Civil Action No. 4:19-CV-00414-A
)
Transport Workers Union of )
America, AFL-CIO, International )
Association of Machinists and )
Aerospace Workers, and Airline )
Mechanic and Related Employee )
Association TWU/IAM, )
)
Defendants. )
)

 

NOTICE OF APPEAL
Notice is hereby given that Defendants Transport Workers Union of America, AFL-CIO
(“TWU”), International Association of Machinists and Aerospace Workers (“IAM”), and Airline
Mechanic and Related Employee Association TWU/IAM (“Association”) (collectively,
Defendants”) in the above named case, hereby appeal to the United States Court of Appeals for
the Fifth Circuit from the Final Judgment Containing Permanent Injunction entered in this action
on August 12, 2019 (Dkt. No. 132).

Dated: August 14, 2019 Respectfully Submitted,

    

  

R. DENISON JEFFREY A. BARTOS (pro hac vice)

(Tex. Bar No. 05655560) (D.C. Bar No. 435832)

Baab & Denison, LLP ANTONIA BIRD (pro hac vice)
6301 Gaston Ave., Suite 550 (Maryland Bar No. 1712130046)
Dallas, TX 75214 Guerrieri, Bartos & Roma, P.C.
Tel.: (214) 637-0750 1900 M Street, N.W., Suite 700
Case 4:19-cv-00414-A@Bocument 137 Filed 08/14/19 pM. of 5 PagelD 3329

Fax.: (214) 637-0730 Washington, DC 20036
Email: denison@baabdenison.com Tel.: (202) 624-7400
Fax.: (202) 624-7420
Attorneys for Defendants Email: jbartos@geclaw.com
Email: abird@geclaw.com
MARK RICHARD (pro hac vice)
(Florida Bar No. 305979) Attorneys for Defendants International
OSNAT K. RIND (pro hac vice) Association of Machinists & Aerospace
(Florida Bar No. 958698) Workers and Airline Mechanic and Related

CHRISTINA S. GORNAIL (pro hac vice) Employee Association TWU/IAM
(Florida Bar No. 085922)

LUCIA PIVA (pro hac vice)

(Florida Bar No. 305979)

Phillips, Richard & Rind, P.A.

9360 SW 72nd Street, Suite 283
Miami, FL 33173

Tel.: (305) 412-8322

Fax.: (305) 412-8299

Email: mrichard@phillipsrichard.com
Email: orind@phillipsrichard.com
Email: cgornail@philipsrichard.com
Email: lpiva@philipsrichard.com

Attorneys for Defendants Transport Workers
Union of America, ALF-CIO and Airline
Mechanic and Related Employee Association
TWU/IAM
*

Case 4:19-cv-00414-A@ocument 137 Filed 08/14/19 rP® 30f5 PagelD 3330

CERTIFICATE OF SERVICE

I certify that on this j a day of A WA av , 2019 a true and correct copy of the

foregoing document was served on counsel for all parties of record listed below by a means

permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

<n AOL)

SANFORD R. DENISON

 
Case 4:19-cv-00414-A Document 137 Filed 08/14/19 Page 4of5 Fage|D 3331
CLERK OF DISTRICT
NORTHERN bist ope ge

FORT WoRTH On
BAAB & DENISON, L.L.P. HINDI
2OI9AUG 14 PH 2:5

illi * *Board Certified
G. William Baab * ATTORNEYS Labor and Employment Law
Sanford R. Denison 6301 GASTON AVE, STE 550 TexaB EPaTOE Legg Specializes
DALLAS, TEXAS 75214 ~ -
L. N. D. Wells, Jr.
(1914 — 2000) Tele: 214-637-0750 © Fax: 214-637-0730
denison@baabdenison.com
<a

Via Hand Delivery
August 14, 2019
Karen Sublett Mitchell
U.S. District Clerk
UNITED STATES DISTRICT COURT
501 West 10" Street, Room 310
Fort Worth, Texas 76102

Re: American Airlines Inc. v. Transport Workers Union of America, AFL-CIO, et al,
Case No. 4:19-cv-00414-A, U.S. Dist. Ct, N.D. Tex., Fort Worth Division

Dear Ms. Mitchell:

Enclosed please find for filing in the above referenced cause the original and two copies
of the following document:

1. Defendants’ “NOTICE OF APPEAL”; and

2. The undersigned counsel for Defendants check on the amount of Five Hundred and Five
Dollars and No/100 ($505.00) made payable to the “Clerk, U.S. District Court” in payment
of the applicable filing fee.

Please file mark and return the extra third copy of the Notice of Appeal to the
undersigned in the enclosed self-addressed and stamped envelope.

Counsel for all parties of record have been served with a copy of the referenced
document by a means authorized by Rule 5(b)(2) of the F.R.C.P. as indicated in the Certificate of

 

 

Service.
Respectfully Submitted,
NS word {2. Y>
SRD/dd Sanford R. Denison

Enclosures
Case 4:19-cv-00414-A Document 137 Filed 08/14/19 Page5of5 PagelD 3332

Karen Sublett Mitchell

U. S. District Clerk

UNITED STATES DISTRICT COURT
August 14, 2019

Page 2

cc: w/ enclosures via email in PDF format

DEE J. KELLY, JR.
ELIZABETH ANNE CUNEO
LARS L. BERG

Kelly Hart & Hallman

201 Main Street, Suite 2500
Fort Worth, TX 76102-3194
817-332-2500

Fax: 817-878-9280

Email: dee.kelly.2@khh.com

Email: elizabeth.cuneo@kellyhart.com

Email: lars.berg@kellyhart.com

ROBERT A. SIEGEL
O'Melveny & Myers, LLP
400 South Hope St

Los Angeles, CA 90071-2899
213-430-6000

Fax: 213-430-6407

Email: rsiegel@omm.com

MARK W. ROBERTSON
SLOANE ACKERMAN
O'Melveny & Myers, LLP
7 Times Square

New York, NY 10036
212-326-2000

Fax: 212-326-2061

Email: mrobertson@omm.com
Email: sackerman@omm.com

RACHEL JANGER
O'Melveny & Myers
1625 Eye Street NW
Washington, DC 20006

Email: rranger@omm.com

JEFFREY A. BARTOS
ANTONIA BIRD

Guerrieri, Bartos & Roma, PC
1900 M Street, NW, Suite 700
Washington DC 20036
202-624-7400

Email: jbartos@geclaw.com
Email: abird@geclaw.com

MARK RICHARD

OSNAT K. RIND

CHRISTINA S. GORNAIL

Phillips, Richard & Rind, P.A.

9360 SW 72nd Street, Suite 283
Miami, FL 33173

305-412-8322

Fax: 305-412-8299

Email: mrichard@phillipsrichard.com
Email: orind@phillipsrichard.com
Email: cgornail@phillipsrichard.com
